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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 TERRE HAUTE DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )      Cause No. 2:21-mj-26-CMM
                                               )
SHANE M. MEEHAN,                               )
                                               )
       Defendant.                              )

      UNITED STATES OF AMERICA’S MOTION FOR PRETRIAL DETENTION

       The United States of America, by counsel, John E. Childress, Acting United States

Attorney for the Southern District of Indiana, and William L. McCoskey, Lindsay M. Karwoski,

and Kathryn E. Olivier, Assistant United States Attorneys, in accordance with 18 U.S.C. §

3142(f), respectfully moves the Court to enter an order detaining the defendant, Shane M.

Meehan (the “Defendant”), pending grand jury action in this case.      In support of its motion, the

United States states:

       1.      On July 8, 2021, the Defendant was charged by criminal complaint with

Premeditated Murder of a Federal Agent, in violation of 18 U.S.C. § 1114.       (Docket No. 1.)

       2.      As set forth in the criminal complaint, the Defendant has been charged with a

crime of violence, an offense for which the maximum sentence is life imprisonment, and a felony

that involves the use of a firearm.   18 U.S.C. § 3142(f)(1)(A), (B), & (E).

       3.      Based on the nature of the charge, if the Court finds that the charge is supported

by probable cause, it is statutorily presumed (subject to rebuttal) that no condition or

combination of conditions will reasonably assure the appearance of the Defendant as required

and the safety of the community.      18 U.S.C. § 3142(e)(3).
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       4.      The United States, therefore, respectfully requests an order detaining the

Defendant pending grand jury action in this cause, and respectfully requests the opportunity to

present other evidence, if necessary, at any detention hearing in this matter.

       5.      Pursuant to 18 U.S.C. § 3142(f), the United States respectfully requests that any

hearing set on this motion be continued for 3 days from the Defendant’s initial appearance,

unless a longer period is requested by the Defendant in accordance with § 3142(f), and that the

Defendant be detained during the period of continuance.

       WHEREFORE, the United States of America requests that the Court grant this motion

and order all other just and proper relief.

                                                      Respectfully submitted,

                                                      JOHN E. CHILDRESS
                                                      Acting United States Attorney

                                              By:     /s/ Kathryn E. Olivier
                                                      William L. McCoskey
                                                      Lindsay M. Karwoski
                                                      Kathryn E. Olivier
                                                      Assistant United States Attorneys

Office of the United States Attorney
10 West Market Street, Suite 2100
Indianapolis, Indiana 46204-3048
Telephone: 317-226-6333




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on August 12, 2021, the foregoing was filed electronically. Notice

of this filing will be sent to the following parties by operation of the Court’s electronic filing

system. Parties may access this filing through the Court’s system.

                                               By:     /s/ Kathryn E. Olivier
                                                       Kathryn Olivier
                                                       Assistant United States Attorney




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